08-12666-mg      Doc 24      Filed 07/24/08    Entered 07/24/08 16:44:24            Main Document
                                              Pg 1 of 2



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------x
                                                         : Case No. 08-12666 (MG)
In re                                                    :
                                                         :
PACE PRODUCT SOLUTIONS, INC.,                            : (Chapter 11)
                                                         :
                                     Debtor.             :
                                                         :
---------------------------------------------------------x

    ORDER CONVERTING CHAPTER 11 CASE TO A CASE UNDER CHAPTER 7 AND
            LIMITING ACCESS TO DEBTOR’S BUSINESS PREMISES

        Based upon the hearing held before this Court on July 24, 2008 and the application of the

United States Trustee, and it appearing that appropriate notice has been given and cause existing

for the relief requested, it is hereby

        ORDERED, that this case commenced under Chapter 11 of the Bankruptcy Code be and

hereby is converted to a case under Chapter 7 pursuant to 11 U.S.C. § 1112(b). It is further

        ORDERED, that the Debtor shall file (i) a schedule of unpaid debts incurred after the

commencement of the Chapter 11 case within 15 days of the date of this order, and (ii) a final

report within 30 days of the date of this order, pursuant to FED. R. BANKR. PROC. 1019(5). And

it is further

\

\

\

\

\
08-12666-mg     Doc 24     Filed 07/24/08     Entered 07/24/08 16:44:24      Main Document
                                             Pg 2 of 2



       ORDERED, that debtor’s officers, directors, and employees, including Boaz Bagbag, are

hereby restrained and enjoined from entering the premises where debtor’s business is located,

including but not limited to office and warehouse space, without express written permission from

the Chapter 7 Trustee or further order of the Court.

       IT IS SO ORDERED.


Dated: New York, New York
       July 24, 2008

                                             /s/ Martin Glenn
                                             HONORABLE MARTIN GLENN




                                                 2
